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    8                         UNITED STATES DISTRICT COURT
    9              CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
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  11     KIMYA PHILLIPS, an individual,          Case No. 5:21-cv-01719-JWH-SPx
  12                      Plaintiff,             ORDER FOR LEAVE TO FILE
                                                 SECOND AMENDED COMPLAINT
  13 v.

  14 SELECT REHABILITATION, LLC, a
                                                 Judge:      Hon. John W. Holcomb
         Limited Liability Company; JENNIFER     Ctrm:       2
  15 HOFF, an individual; LINDSEY
         ALDRIDGE, an individual; and DOES 1     Complaint Filed: August 9, 2021
  16 through 50, inclusive,
                                                 Removal:         October 11, 2021
  17                      Defendants.            FAC Filed:       November 1, 2021
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                                                          Case No. 5:21-cv-01719-JWH-SPx
4859-0594-9700.1
        Case 5:21-cv-01719-JWH-SP Document 17 Filed 11/19/21 Page 2 of 2 Page ID #:433



    1              The Parties having stipulated, and Good Cause appearing, it is ORDERED that:
    2              1.    Plaintiff hereby withdraws the First Amended Complaint [ECF No. 14];
    3              2.    Plaintiff may file a Second Amended Complaint no later than December 6,
    4    2021;
    5              3.    Plaintiff withdraws, without prejudice, the Motion to Remand [ECF No. 15];
    6    and
    7              4.    Plaintiff reserves the right to file a subsequent Motion to Remand after filing
    8    a Second Amended Complaint.
    9              IT IS SO ORDERED.
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  11     Dated: November 19, 2021
                                                           Hon. John W. Holcomb
  12                                                       United States District Judge
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